                                             UNITED STATES BANKRUPTCY COURT
                                                   DISTRICT OF OREGON

In re                                          )     Case No.        19-60422-pcm7
Tuong Nguyen Nguyen aka Tuong                  )
Nguyen                                         )
                                               )     Notice of Motion for Relief
                                               )     From (Check All That Apply):
                                               )        Automatic Stay in a Chapter 7/13 Case
                                               )        Chapter 13 Codebtor Stay
Debtor(s)                                      )


   1. YOU ARE NOTIFIED that a motion was filed by HSBC Bank USA, National Association                      , the
       moving party, for (Check all that apply):
        Relief from the automatic stay protecting the debtor(s) and debtor's property, as provided by 11 U.S.C.
        § 362.
        Relief from the stay protecting the codebtor and codebtor’s property as provided by 11 U.S.C. § 1301.
        Codebtor’s name and service address are:
                                                                                                               .

   2. A copy of the motion is attached. The name and service address of the moving party's attorney (or moving
      party, if no attorney) are: Jesse A.P. Baker
      4375 Jutland Drive Suite 200, P.O. Box 17933, San Diego, CA 92177-0933                                 .

   3. If you wish to resist the motion, you must, within 14 days of the service date shown below, file the following
      with the clerk at 1050 SW 6th Ave. #700, Portland OR 97204 or 405 E. 8th Ave. #2600, Eugene OR 97401:

            a. A written response that states the facts supporting the opposition to the motion by filling in the
               applicable “response” portions on a copy of the original motion. If the response will be electronically
               filed, the response must be prepared using the fillable pdf version of the original motion unless the
               motion was filed on paper and could not be electronically obtained from the movant; and

            b. A fully completed notice of hearing using Local Bankruptcy Form (LBF) 721, including the date and
               time of the hearing. Available hearing dates and times are posted at https://www.orb.uscourts.gov
               under the “Hearings” heading. If you do not have internet access, please call the court at (503) 326-
               1500 or (541) 431-4000 and press “0" to obtain the required forms and hearing information.

   4. Failure to Object or Serve Proper Notice of Hearing. If you fail to file a timely response and notice of
      hearing, then the automatic stay may expire as to the debtor(s) pursuant to 11 U.S.C. § 362(e) and the stay
      protecting the codebtor may expire pursuant to 11 U.S.C. § 1301(d), or the court may sign an order
      without further notice, submitted by the moving party on LBF 720.90, granting relief from the debtor stay
      and/or codebtor stay.




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   I certify that:

   (1) The motion was prepared using the fillable PDF version of LBF 720.80; and

   (2) On     03/06/2019        this notice and the motion were served on the debtor(s), any codebtor at the address
   listed above, the trustee, the U.S. Trustee, members of any committee elected pursuant to 11 U.S.C. § 705, and
   their respective attorneys.


                                             /s/Jesse A.P. Baker                                       100017
                                              Signature of Moving Party or Attorney                      (OSB#)




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                                              DISTRICT OF OREGON

In re                                       ) Case No. 19-60422-pcm7
Tuong Nguyen Nguyen aka Tuong               )
Nguyen
                                            ) (Check all applicable boxes)
                                            )     Ch. 7/13 Motion for Relief from
                                            )         Debtor     Chapter 13 Codebtor Stay
                                            )     Filed by Creditor:
                                            )     HSBC Bank USA, National Association*
                                            )     Response to Stay Motion filed by Respondent:
Debtor(s)                                   )

1. Debt, Default, Other Encumbrances, Description and Value of Collateral (To be completed by creditor)

    a. Description of collateral (car model, year, VIN, property address):
        1690 W Meadows Drive NW, Salem, Oregon 97304
        *HSBC Bank USA, National Association as Trustee for Deutsche Alt-A Securities, Inc. Mortgage
        Loan Trust, Series 2006-AR6, Mortgage Pass-Through Certificates

    b. Amount of debt: $ 440,196.35            consisting of principal: $ 435,137.57 ; interest: $        4,973.78   ;
       other:
         NSF fee of $70.00, and Corporate Advance of $15.00 as of February 28, 2019



    c. Description, amount and priority of other encumbrances on collateral. If not known, include applicable
       information from debtor’s schedules if available on PACER:



        Total debt secured by collateral (total 1.b. + 1.c.): $   440,196.35         .

    d. Value of collateral: $     510,000.00     .
       Equity in collateral: $     29,003.65      , after deducting $       40,800.00      liquidation costs.

    e. Current monthly payment: $          3,867.31      .

    f. If Chapter 13:

        (1) $               postpetition default consisting of (e.g., $                    payments, $
            late charges, $             fees):


        (2) $                    prepetition default consisting of        amounts specified in proof of claim, or,
                consisting of:


    g. If Chapter 7, total amount of default $        7,596.38       .   As of 2/28/2019



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RESPONSE (Identify specific items disputed and specify what you contend are the pertinent facts including why
there is a postpetition default, if applicable) (to be completed by respondent):




2. Relief from stay should be granted because (check all that apply): (To be completed by creditor)
        Lack of adequate protection because of failure to make sufficient adequate protection payments and
        lack of a sufficient equity cushion.
        Lack of insurance on collateral.
         No equity in the collateral and the property is not necessary for an effective reorganization.
         Failure of debtor to make Chapter 13 plan payments to the trustee.
         Failure of debtor to make direct payments to secured creditor required by Chapter 13 plan.
         Other (describe):




RESPONSE (Specify why relief from stay should be denied. If respondent proposes to cure a postpetition
default, detail the cure by attaching a proposed order using Local Form (LBF) 720.90 available at
https://www.orb.uscourts.gov under Forms/Local Forms) (to be completed by respondent):




3. Background (To be completed by creditor)

   a. Date petition filed: 02/14/2019 Current Chapter: 7 (7 or 13)
      If 13, current plan date                Confirmed:        Yes No
      If 13, treatment of creditor’s prepetition claim(s) in plan:




      If 7, debtor    has       has not stated on Local Form (LBF) 521 or 521.05 that debtor intends to
      surrender the collateral.

   b. Creditor has a lien on the collateral by virtue of (check all applicable sections and also see paragraph 6
        below):
        Security agreement, trust deed or land sale contract dated 08/30/2006 , and, if applicable, an
        assignment of said interest to creditor. The security interest was perfected as required by applicable
        law on 08/31/2006 .


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         Retail installment contract dated               , and, if applicable, an assignment of said interest to
         creditor. The security interest was perfected on the certificate of title on                 .
         Other (describe):




RESPONSE (Identify any disputed items and specify the pertinent facts) (to be completed by respondent):




4. Request for Relief from Codebtor Stay (Chapter 13 only)
   a.                             , whose address is
                                 , is a codebtor on the obligation described above, but is not a debtor in this
      bankruptcy.

   b. Creditor should be granted relief from the codebtor stay because (check all applicable boxes):
           codebtor received the consideration for the claim held by creditor,          debtor’s plan does not
      propose to pay creditor’s claim in full,           creditor’s interest would be irreparably harmed by
      continuation of the codebtor stay as a result of the default(s) described above and/or      because:




RESPONSE (Identify any disputed items and specify the pertinent facts) (to be completed by respondent):




5. Other Pertinent Information (To be completed by creditor, if applicable):
Movant requests that Movant and/or its successors and assignees may, at its option, offer, provide
and enter into a potential forbearance agreement, loan modification, refinance agreement or other
loan workout/loss mitigation agreement, including a short sale or deed in lieu as alternatives to
foreclosure, and that Movant may contact the Debtor via telephone or written correspondence to offer
such an agreement or loan workout option.
Attached are redacted copies of any documents that support the claim, such as promissory notes,
purchase order, invoices, itemized statements of running accounts, contracts, judgments, mortgages,
and security agreements in support of right to seek a lift of the automatic stay and foreclose if
necessary.

RESPONSE (Identify any disputed items and specify the pertinent facts) (to be completed by respondent):




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6. Relief Requested (check all applicable sections): (To be completed by creditor)

      Creditor requests relief from the automatic stay to allow it to foreclose its lien on the above identified
      collateral, and, if necessary, to take appropriate action to obtain possession of the collateral.

      Creditor has a security interest in real property and requests relief from stay with respect to an act against
      such property and that the relief be binding in any other bankruptcy case purporting to affect such real
      property filed not later than 2 years after the date of the entry of an order granting this motion. (If you
      check this box, you must complete paragraph 5 above to support this request. If you do not do so, the
      Court will not grant relief binding in any other bankruptcy case.)

      Creditor requests that the 14-day stay provided by FRBP 4001(a)(3) be waived based on the following
      cause:




      Other (describe and explain cause):




RESPONSE (Identify any disputed items and specify the pertinent facts. If respondent agrees to some relief, attach
a proposed order using Local Bankruptcy Form (LBF) 720.90 available at https://www.orb.uscourts.gov under
Forms/Local Forms) (to be completed by respondent):




7. Documents:

   If creditor claims to be secured in paragraph 3.b. above creditor has attached to and filed with this
   motion a copy of the documents creating and perfecting the security interest, if not previously attached to
   a proof of claim.

   If this case is a Chapter 13 case and the collateral as to which creditor seeks stay relief is real property,
   creditor has attached to and filed with this motion a postpetition payment history current to a date not more
   than 30 days before this motion is filed, showing for each payment the amount due, the date the payment
   was received, the amount of the payment, and how creditor applied the payment.

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RESPONDENT requests creditor provide Respondent with the following document(s), if any marked, which are
pertinent to this response:
      Postpetition payment history if not required above.
      Documents establishing that creditor owns the debt described in paragraph 1 or is otherwise a proper
      party to bring this motion.
      Other document(s) (specific description):




Creditor/Attorney                                            Respondent Debtor/Attorney (by signing, the
                                                             respondent also certifies that [s]he has not altered
                                                             the information completed by creditor)

Signature: /s/Jesse A.P. Baker                        Signature:
Name: Jesse A.P. Baker                                Name:
Address: 4375 Jutland Drive Suite 200; P.O. Box 17933 Address:
San Diego, CA 92177-0933
Email Address: jbaker@aldridgepite.com                       Email Address:
Phone No: (858) 750-7600                                     Phone No:
OSB#:                  100017                                OSB#:

                                                             Respondent Codebtor/Attorney (by signing,
                                                             the respondent also certifies that [s]he has not
                                                             altered the information completed by creditor)

                                                             Signature:
                                                             Name:
                                                             Address:

                                                             Email Address:
                                                             Phone No:
                                                             OSB#:



You are hereby notified that the creditor is attempting to collect a debt and any information obtained will be
used for that purpose.


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